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                   Exhibit 21
                                Case 3:16-cr-00411-VC Document 116-21 Filed 09/19/17 Page 2 of 2
(22825 unread) - naummorgovsky@yahoo.com - Yahoo Mail                                                                                                         8/22/17, 3)32 PM


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                                             All     Naum Morgovsky, search your mailbox                           Search Mail        Search Web       Home         N



                                      Re:         Re:      Re: Expedite
                                                                     Re: The curves
                                                                              Re: The curves
                                                                                       Re: Oﬀer Re: Oﬀer Re: Oﬀer Re: Oﬀer Re: NaumRe: NaumRe: NaumRe: NaumRe: NaumRe: Lens prints

     Compose                                                  Archive        Move          Delete      More


  Inbox (9999+)                              Re: Lens prints
  Drafts (228)

  Sent                                       Naum Morgovsky <naummorgovsky@yahoo.com>                                       03/20/13 at 12:54 PM
                                             To Devin Standard
  Archive

  Spam (42)                                  Hi Devin,
  Trash
                                             In order to go forward with the lenses for commercial thermal cameras per the
  Smart Views                                drawings you sent to me, I need ASAP some kind of schematics which would allow
    Important                                me to confirm that the dimensions of the lens assemblies and the distances between
                                             lenses and from the rear lens to the camera sensor are in line with those I provided to
    Unread
                                             you in my specs, as well as that the focusing is done by moving the rear lens only.
    Starred
    People                                   I am also interested in 30mm and 19mm lenses to be used for the same purposes
    Social                                   (not 35mm as you mentioned in your email).
    Shopping
                                             Thanks, Naum
    Travel
    Finance
    silverman
                                             From: Devin Standard <Devin.Standard@Janostech.com>
    mseymour
                                             To: Naum Morgovsky <naummorgovsky@yahoo.com>
    bartfield                                Cc: John Therriault <John.Therriault@Janostech.com>
    montgomery                               Sent: Monday, March 18, 2013 1:52 PM
    seymour                                  Subject: Lens prints

    rosas
                                             Hi Naum:
    cheo                                     I hope you are well.
  Folders                                    Our compliance guy told me that if we develop a brand new design for a weapon sight that that falls
                                             under ITAR restric@ons.
    Drafts
                                             As a Non-ITAR op@on, we can supply you with a 100, 50 and 35mm developed for a security camera
    Notes                                    applica@on.
    Sent Messages                            Take a look at the aHached lens prints(50mm & 100mm) to see if they will work for you.
    untitled                                 If so, I will forward the prints for the 35 as well.
                                             Rgds,
  Sponsored                                  Devin




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